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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                 Plaintiff,           )                 4:08CR3026
                                      )
           V.                         )
                                      )
CARLOS LOVERBOY SILVA,                )                   ORDER
                                      )
                 Defendants.          )
                                      )


     IT IS ORDERED that the defendant’s motion for copies (filing 146) is denied.


     DATED this 18th day of April, 2013.

                                     BY THE COURT:

                                     Richard G. Kopf
                                     Senior United States District Judge
